  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK

  VANS, INC. and VF OUTDOOR, LLC,

                       Plaintiffs,

                v.
                                                          Case No. 1:22-cv-02156-WFK-RML
  MSCHF PRODUCT STUDIO, INC.

                       Defendant.




          DEFENDANT’S MEMORANDUM OF LAW IN SUPPORT OF ITS
          MOTION TO PARTIALLY STAY PRELIMINARY INJUNCTION,
         REQUIRE PLAINTIFF TO POST A BOND, AND RESCIND ESCROW
                             REQUIREMENT


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       Defendant MSCHF Product Studio, Inc. (“MSCHF”) respectfully submits this

memorandum of law in support of its motion to partially stay the Court’s April 29, 2022 order

(the “Order”) granting the motion for a preliminary injunction filed by Plaintiffs Vans, Inc. and

VF Outdoor, LLC (together, “Vans”), to rescind the Order’s escrow requirement, and to order

Vans to post security pursuant to Rule 65(c).

                                PRELIMINARY STATEMENT

       The Court should stay the provision of its Order that enjoins MSCHF from promoting its

Wavy Baby artwork by displaying it on its website, on its mobile app, and in upcoming art

exhibitions. MSCHF is likely to succeed on the merits of its appeal because Wavy Baby is an

artwork protected by the First Amendment and there are at least substantial questions going to

the merits of MSCHF’s First Amendment defense in this case. The practical effect of the Order

is to enjoin MSCHF’s promotion of accurate archival images of Wavy Baby on its website and

app and prohibit MSCHF’s display of Wavy Baby in art exhibitions at the Perrotin Gallery (in

November and December 2022) and at Art Basel (in December 2022), underscoring that the

Order is an unconstitutional prior restraint on MSCHF’s artistic expression. The Court should

thus stay the Order’s prohibition on promotion of Wavy Baby while MSCHF pursues an

expedited interlocutory appeal to the Second Circuit. Furthermore, the Order’s escrow

requirement is contrary to law and should be rescinded, and the Court should order Vans to post

security, as required by Rule 65(c).

                                   STATEMENT OF FACTS

       Following receipt of the Order (and even without Vans posting a bond, as required by

Rule 65(c)), MSCHF took numerous steps to comply with the Order, including removing from

its website and mobile app the archival images of and references to Wavy Baby. Prior to the

Order, MSCHF promoted images of its prior sneaker artworks, including Jesus Shoes, Satan

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Shoes, Tap3, and Wavy Baby, and an announcement of its forthcoming drop. In light of the

Order, MSCHF has been forced to remove all references to Wavy Baby, thus restraining

MSCHF’s speech. The Order also restrains MSCHF’s forthcoming artistic expression, including

by prohibiting MSCHF from displaying its Wavy Baby art at MSCHF’s upcoming solo

exhibition at the Perrotin Gallery (from November 3 to December 23, 2022) and at the exhibition

at Art Basel (from December 1 to December 3, 2022). See Whaley Decl., ECF 18 ¶ 49.

                                          ARGUMENT

       Four factors govern whether a court should grant a stay pending appeal: “(1) whether the

stay applicant has made a strong showing that he is likely to succeed on the merits; (2) whether

the applicant will be irreparably injured absent a stay; (3) whether issuance of the stay will

substantially injure the other parties interested in the proceeding; and (4) where the public

interest lies.” Nken v. Holder, 556 U.S. 418, 434 (2009). All four factors weigh in favor of

granting a stay pending MSCHF’s expedited interlocutory appeal to the Second Circuit. See ECF

41 (Notice of Appeal).

I.     MSCHF Is Likely to Succeed on the Merits of Its Appeal.

       A.      The Court erred in granting Vans’ application for a preliminary injunction.

       For the reasons already explained in MSCHF’s memoranda of law opposing Vans’

motion for a preliminary injunction (ECF 13 and 21), Vans’ Lanham Act claims are precluded by

the First Amendment. MSCHF understands that the Court has ruled otherwise, Order at 11–14,

but respectfully submits that, given the important First Amendment issues implicated in this

case, the Court should enter a partial stay pending MSCHF’s pending emergency interlocutory

appeal to the Second Circuit. See In re A2P SMS Antitrust Litig., No. 12-CV-2656, 2014 WL

4247744, at *2 (S.D.N.Y. Aug. 27, 2014) (“The Second Circuit has long recognized that the

‘likelihood of success on the merits’ that is required for both a preliminary injunction and a stay

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can be satisfied if there are ‘serious questions’ going to the merits of the dispute and the

applicant is able to establish that the balance of hardships tips decidedly in its favor,” and “[a]

‘serious questions’ standard is particularly appropriate when a district court is asked to stay its

own order”) (citing Citigroup Global Mkts., Inc. v. VCG Special Opportunities Master Fund,

Ltd., 598 F.3d 30, 35 (2d Cir. 2010); New York Times Co. v. Dep’t of Health & Hum. Servs., No.

20 CIV. 3063 (GWG), 2021 WL 235138, at *1 (S.D.N.Y. Jan. 25, 2021) (same).

       At the April 27 hearing, the Court recognized the serious questions going to the merits of

Vans’ claims and MSCHF’s First Amendment defense:

       [I]f [MSCHF] had one pair of Wavy Baby shoes that were in the Metropolitan Museum
       or the Brooklyn Museum that would be one thing, and if you had a million issues of
       Wavy Baby shoes that would be another. But you’re at 4,000 which is not exactly
       Brooklyn Museum rare Calder on the one hand, nor is it on the other side a million pairs
       of shoes on the other. So you’re somewhere in between.

April 27, 2020 Hearing Tr. 55:19–56:1. The Court’s recognition that the sale of a limited edition

of only about four thousand Wavy Baby works falls between the extremes cited by the Court

shows that this is a close question, which means the significant First Amendment concerns

should weigh in favor of a stay to permit the Second Circuit to address the merits.

       B.      The Order causes irreparable harm to MSCHF’s First Amendment rights.

       By forcing MSCHF to take down its truthful social media posts and website content

regarding Wavy Baby, the Order effectuates an unconstitutional restraint on speech. By

prohibiting MSCHF from promoting Wavy Baby in any context, the Order is also a prior restraint

against MSCHF’s display of its Wavy Baby artwork at the Art Basel and Perrotin Gallery

exhibitions later this year. See Whaley Decl., ECF 18 ¶ 49; Alexander v. United States, 509 U.S.

544, 550 (1993) (“[A] judicial order directing an individual not to engage in expression, on pain

of contempt” is “a prior restraint[.]”). As a prior restraint, this Court’s order is “subject to ‘heavy

presumption’ against its constitutional validity.” Org. for a Better Austin v. Keefe, 402 U.S. 415,

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419–20 (1971) (“[T]he injunction, so far as it imposes prior restraint on speech and publication,

constitutes an impermissible restraint on First Amendment rights.”); Metro. Opera Ass’n, Inc. v.

Loc. 100, Hotel Emps. & Rest. Emps. Int’l Union, 239 F.3d 172, 178 (2d Cir. 2001) (the Second

Circuit honors the principle that “the First Amendment strongly disfavors injunctions that impose

a prior restraint on speech”). Vans has not rebutted that heavy presumption, nor has the Court

sufficiently justified its prior restraint. By forcing MSCHF to remove the archival images of and

references to Wavy Baby from its website and app and preventing MSCHF from displaying its art

in art museums and galleries, the injunction uniquely impacts MSCHF’s speech and will do

nothing to prevent any harm, let alone irreparable harm, to Vans (especially given that images of

Wavy Baby already proliferate on the Internet and in the Freaky Deaky music video). If

anything, allowing MSCHF to identify itself on its website and app as the source of the Wavy

Baby work will serve the interests of justice because it will further clarify what is already clear—

that MSCHF, and not Vans, is the source of Wavy Baby. Allowing MSCHF to retain the images

of Wavy Baby on its website and app as a source identifier is thus likely to mitigate any harm to

Vans rather than cause any harm to Vans.

       C.      The Court’s escrow order is contrary to law and should be rescinded.

       The Order directs MSCHF to escrow all of its revenue from Wavy Baby “so that . . .

[MSCHF] may return those funds to customers who ordered [Wavy Baby] under the mistaken

belief that Vans was the source of the shoes or otherwise approved or sponsored [Wavy Baby].”

Order at 17–18. The parties neither briefed nor argued this issue, and it is contrary to law.

Neither Vans nor the Court have cited any legal authority that would permit the Court to require

such an extraordinary and punitive measure—nor could they, because no such authority exists.

       We have identified no cases where a court has ordered a purported trademark infringer to

escrow its gross revenues for any purpose. An order to escrow net profits might be appropriate

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where the plaintiff seeks lost profits, but only where those profits will help ensure the availability

of funds to provide the plaintiff’s requested equitable relief. Compare Gucci Am., Inc. v.

Weixing Li, 768 F.3d 122, 131–33 (2d Cir. 2014) (“[District courts] maintain the equitable power

to [issue a prejudgment asset freeze] . . . where the plaintiff is pursuing a claim for final equitable

relief, and the preliminary injunction is ancillary to the final relief.”) with AKF, Inc. v.

AvantGarde Senior Living, No. 21-CV-188, 2021 WL 2662070, at *4 (N.D.N.Y. Apr. 29, 2021)

(refusing to order defendant’s profits placed in escrow because the courts have “‘no authority’

under Rule 65 to issue a preliminary injunction preventing a defendant from disposing of its

assets” pending a claim for money damages (quoting Grupo Mexicano de Desarrollo S.A. v. All.

Bond Fund, Inc., 527 U.S. 308, 133 (1999)).

       Such an order is appropriate only where the court has found that the defendant likely

would be unable to satisfy a judgment, which is not the case here. Even if the Court were to

limit its escrow order to MSCHF’s net profits, that relief is wholly unrelated to any harm

purportedly suffered (or that purportedly will be suffered) by Vans. MSCHF’s escrow of funds

for the purpose of “return[ing] those funds to customers” is also inappropriate because it is

unrelated to the remedies sought by Vans. See Complaint, ECF 1 at 54–56. For example, Vans

has not sought—nor could it seek—restitution to purportedly confused consumers. Furthermore,

as a factual matter, none of the purchasers of Wavy Baby have reported to MSCHF any confusion

as to the source of the works they purchased. Accordingly, MSCHF respectfully requests that, in

addition to granting the partial stay pending appeal, the Court rescind the portion of the Order

requiring MSCHF to place funds into escrow.

       D.      The Order does not comply with Rule 65(c).

       Rule 65(c) of the Federal Rules of Civil Procedure provides that “[t]he court may issue a

preliminary injunction or a temporary restraining order only if the movant gives security in an

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amount that the court considers proper to pay the costs and damages sustained by any party

found to have been wrongfully enjoined or restrained” (emphasis added). Here, the Court has

failed to make any assessment of the damage that is likely to be sustained by MSCHF if the

Second Circuit or this Court later finds that MSCHF was wrongfully enjoined and that the Order

was improvidently granted. Corning Inc. v. PicVue Elecs., Ltd., 365 F.3d 156, 158 (2d Cir.

2004) (district court violated Rule 65(c), which “allows a preliminary injunction to become

effective only upon the applicant’s positing of an amount that the district court determines

adequate” and requires “the district court . . . to make this determination before it enter[s] the

preliminary injunction”) (emphasis added); Arias v. Solis, 754 F. Supp. 290, 295 (E.D.N.Y.

1991) (“[A] court’s failure to require the posting of security could be reversible error”).

        Admittedly, the economic harm to MSCHF is difficult to calculate. MSCHF has incurred

minor expenses in modifying its website and app, as well as monitoring compliance with the

injunction; if the Court declines to rescind the escrow order, MSCHF will lose its ability to use

any revenue from its sales of Wavy Baby to pay for the costs of production and promotion of

Wavy Baby. See Habitat Educ. Ctr. v. U.S. Forest Serv., 607 F.3d 453, 456 (7th Cir. 2010)

(“[W]hen setting the amount of security, district courts should err on the high side. . . . An error

in setting the bond too high . . . is not serious. . . . [A]n error in the other direction produces

irreparable injury, because the damages for an erroneous preliminary injunction cannot exceed

the amount of the bond”). Indeed, the primary harm to MSCHF is to its reputation in the

community, and to its ability to exercise its constitutional right to free expression, including the

right to display Wavy Baby as an artwork at the upcoming Art Basel and Perrotin Gallery

exhibitions later this year. See Whaley Decl., ECF 18 ¶ 49. In the absence of an immediate stay,

later reversal of the Order will do nothing to allow MSCHF to go back in time to remedy the



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harm that occurred during the period it was muzzled. There is no amount of security that can

compensate MSCHF for that harm.

II.    MSCHF Will Be Irreparably Harmed Absent a Stay.

       A stay is necessary to avoid irreparable injury to MSCHF. When First Amendment

expression is enjoined “even for minimal periods of time”—which this injunction already has

done—it “unquestionably constitutes irreparable injury.” Elrod v. Burns, 427 U.S. 347, 373

(1976). If the Second Circuit finds in MSCHF’s favor but the injunction remains in effect during

the appeal, no court order could undo the harm of refusing to stay the injunction.

       The Court’s preliminary injunction irreparably harms MSCHF by infringing MSCHF’s

right to critique society and consumerism through non-infringing commentary on culturally

relevant marks and to display its artworks. This interference with MSCHF’s expression is a prior

restraint—the most egregious of First Amendment violations. Further, the injunction serves as a

subsequent punishment of lawful speech, and its effect will chill not only MSCHF’s creative

expression, but also will chill expression by other artists who desire to critique large

corporations.

       As explained above, a stay is appropriate if only because the Order constitutes a prior

restraint on MSCHF’s expression, including its right to display accurate archival images of its

artworks on its website and app and to display its artworks in art museums and galleries. Indeed,

by prohibiting MSCHF from promoting Wavy Baby at all, the Order prohibits even the display of

“one pair of Wavy Baby shoes [] in the Metropolitan Museum or the Brooklyn Museum,” April

27, 2020 Hearing Tr. 55:19–21, which the Court suggested would be protected activity under the

First Amendment. Vans has not rebutted the “heavy presumption” against the prior restraint, and

the Court has presented no lawful reason to justify it. Furthermore, forcing MSCHF to comply



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with an unconstitutional injunction casts a cloud over MSCHF’s and other artists’ works—even

those that have nothing to do with Vans—that provide incisive commentary and critique of

consumerism and famous brands. The Supreme Court has recognized that “those who are

sensitive to the perils posed by [the threat of penalties], avoid [those penalties] only by restricting

their conduct to that which is unquestionably safe. Free speech may not be so inhibited.”

Baggett v. Bullitt, 377 U.S. 360, 372 (1964) (emphasis added). A stay is necessary to avoid

chilling artistic speech by causing MSCHF and other artists to refrain from creating new art for

fear of facing punitive litigation.

III.    Vans Will Face No Harm If the Order Is Stayed.

        Vans would face no irreparable harm from the promotion of Wavy Baby works on

MSCHF’s website, on MSCHF’s app, and in art exhibitions during the short time of MSCHF’s

emergency interlocutory appeal before the Second Circuit. MSCHF’s website and app are

clearly branded with MSCHF’s name, which undermines any likelihood that consumers would

be confused as to the source of the sold-out artworks, which will be depicted and described for

archival purposes. MSCHF’s works in Perrotin Gallery and Art Basel exhibitions will be clearly

labelled as MSCHF works (indeed, the Perrotin Gallery exhibition will be a solo exhibition,

where all the works will be MSCHF works), and none of the works will be offered for sale.

Vans could thus face no harm at all from a tailored stay that permits MSCHF to republish its

Wavy Baby-related website and app content and to promote its Wavy Baby works at art

exhibitions.

        A stay, however, will remove the prior restraint on speech and allow MSCHF to maintain

images of and references to Wavy Baby on its website and mobile app during the pendency of the

appeal, as well as to permit the inclusion of Waby Baby at upcoming art exhibitions. Given that



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Wavy Baby artworks are already famous by virtue of their appearance in the Freaky Deaky video,

and images of Wavy Baby have proliferated on the Internet in part because of the publicity

surrounding this lawsuit, allowing MSCHF to maintain the images for archival purposes on its

website and to keep the public informed of their origin will not cause any, let alone irreparable,

harm to Vans.

IV.    The Public Interest Favors a Stay Because Failure to Stay Would Chill Artistic
       Expression

       Finally, the public interest weighs in favor of granting a partial stay. When government

action chills third-party speech, it is an unconstitutional violation of the First Amendment.

Muchmore's Cafe, LLC v. City of New York, No. 14-cv-5668, 2016 WL 11469539, at *4

(E.D.N.Y. Sept. 29, 2016) (plaintiff café alleged a plausible First Amendment violation because

a New York City law that restricted dancing could chill the playing of certain music); see also

Pen Am. Ctr., Inc. v. Trump, 448 F. Supp. 3d 309, 321 (S.D.N.Y. 2020), stay granted, motion to

certify appeal granted, No. 18-cv-9433, 2020 WL 5836419 (S.D.N.Y. Oct. 1, 2020) (recognizing

that a chilling effect on the defendant and on third-parties as “classic First Amendment

injuries”). Because First Amendment cases send ripples through American society, it would be

an error to look only at its impact on MSCHF or Vans alone. The Order casts a cloud over

artworks that already have incorporated Wavy Baby into the work (such as Tyga and Doja Cat’s

Freaky Deaky music video, which has already caused Tyga to be the recipient of a cease-and-

desist letter from Vans, see Pl.’s Br., ECF 2 at 12–13). Absent a stay, the preliminary injunction

will likely also deter artists from commenting, critiquing, or parodying cultural icons for fear that

they too would face punitive lawsuits and injunctions, including court orders that prohibit the

display of the artwork. The impact of the Order is likely to be particularly severe in the context

of Cultural Readymades, depriving the public of the full benefit of one of the most influential


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and vibrant artistic traditions of the past century. See Def.’s Opp. Br., ECF 13 at 5 (discussing

the “Cultural Readymade” art movement).

                                         CONCLUSION

       For the foregoing reasons, MSCHF respectfully requests that the Court stay the provision

of its April 29, 2022 Order that prohibits MSCHF’s promotion of the Wavy Baby artworks,

pending MSCHF’s appeal. MSCHF also requests that the Court rescind the escrow portion of

the Order and require Vans to post security pursuant to Rule 65(c).


Dated: New York, New York                          Respectfully submitted,
       May 20, 2022

                                                   By: /s/ David H. Bernstein
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